45 F.3d 428NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff Appellee,v.Gracie L. COLLIER, Defendant Appellant.
    No. 94-6524.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 13, 1994.Decided Jan. 6, 1995.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Charleston.  Charles H. Haden II, Chief District Judge.  (CR-93-7, CA-93-909).
      Gracie L. Collier, Appellant Pro Se.  John Kirk Brandfass, OFFICE OF THE UNITED STATES ATTORNEY, Charleston, WV, for Appellee.
      S.D.W.Va.
      AFFIRMED.
      Before WIDENER and NIEMEYER, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders denying her 28 U.S.C. Sec. 2255 (1988) motion and overruling her untimely objections to the magistrate judge's report and recommendation.  Our review of the record and the district court's opinions accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Collier, Nos.  CR-93-7;  CA-93-909 (S.D.W. Va.  Apr. 25 and May 2, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    